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AO 245B (Rev. 06/05) Sheet 1 - Judgment in a Criminal Case

United States District Court

Southern District of Ohio at Cincinnati

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Christopher Ford Case Number: 1:11¢r39

USM Number: 54440-018
Richard Smith-Monahan
Defendant's Attorney

THE DEFENDANT:

[“] pleaded guilty to count: 5 of the Indictment.

[] pleaded nolo contendere to counts(s)__ which was accepted by the court.

[] was found guilty on count(s) ___ after a plea of not guilty.

The defendant is adjudicated guilty of these offense(s):
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. 1343 Wire Fraud 10/2008 5

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[] The defendant has been found not guilty on counts(s) ___

I] Counts_1-4, 6-11 of the Indictment are dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. if ordered to pay restitution, the defendant must notify the court and the United States Attorney of
material changes in the defendant's economic circumstances.

September 14, 2011
Date of Imposition of Judgment

 

SUSAN J. DLOTT, United States District Judge
Name & Title of Judicial Officer

Yar i/

" # Date
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AO 245B (Rev. 06/05) Sheet 2 - Imprisonment

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DEFENDANT: Christopher Ford

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of 37 months .

[v]

[“)

i]

(]

The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in FCI Miami, Florida Facility. If this facility is not available then the defendant shall
be placed in the closest appropriate Facility to Miami, Florida.

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district.
[] at__on_.
[] as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[ ] before 2:00 p.m. on .

[ ] as notified by the United States Marshal but no sooner than

[ ] as notified by the Probation or Pretrial Services Office.

RETURN

 

{ have executed this judgment as follows:

 

 

 

at

Defendant delivered on to

_ with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

Deputy U.S. Marshal
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AQ 245B (Rev. 06/05) Sheet 3 - Supervised Release

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DEFENDANT: Christopher Ford

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of.3 years . The defendant shall be
prohibited from ineurring any new eredit or establishing any additional lines of credit without approval of the probation officer. The defendant shall
provide the probation officer aceess to all requested financial information.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the Court.

[] The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

[-] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
applicable.)

[+] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
or is a student, as directed by the probation officer. (Check, if applicable.)

[j The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shal! support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employmeni;

7) ‘the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11} the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.
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AO 245B (Rev. 06/05) Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: Christopher Ford

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Assessment Fine Restitution
Totals: $ 100 $ $ 664,000

[] The determination of restitution is deferred until_. An amended Judgment in a Criminal Case (AQ 245C) will be
entered after such determination.

[] The defendant must make restitution (including community restitution) to the following payees in the amounts listed
below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless
specified otherwise in the priority order of percentage payment column below. However, pursuant to 18 U.S.C. §
3664(1), all nonfederal victims must be paid before the United States is paid.

*Total

Name of Payee Loss Restitution Ordered Priority or Percentage
Phone Miami 185,000 185,000
MX Telecom, LLC 250,000 250,000
Attn. Ron Musich
715 Florida Ave. South, Suite 306
Golden Valley, MN. 55427
Band Tel, LLC 20,000 20,000
Talk More, Inc. 179,731 179,731
Attn, Harold Delaney
160 West Camino Real, #268
Boca Raton, Florida 33432
Communications Distributors, Inc. 30,000 30,000
Attn. Richard Rohn
4501 Magnolia Cove Dr. Suite 204
Kingwood, TX. 77345

TOTALS: $ 664,000 $664,000

[] Restitution amount ordered pursuant to plea agreement $

{] The defendant must pay interest on restitution and a fine of more than $2500, unléss the restitution or fine is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[“] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

{“] The interest requirement is waived forthe [] fine {#] restitution.

{] The interest requirement forthe [] fine  [] restitution is modified as follows:

“ Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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AO 245B (Rev. 06/05) Sheet 6 - Criminal Monetary Penalties

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DEFENDANT: Christopher Ford

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A [] Lump sum payment of $ due immediately, balance due

[] not later than or
[]in accordance with [] C, [] DB, [J&,or [] F below; or

B [&] Payment to begin immediately (may be combined with [] C [] D,or [+] F below); or
C [] Payment in equal installments of $ over a period of , to commence days after the date of this judgment; or

D [J] Payment in equal installments of $ over a period of , to commence days after release from imprisonment to a
term of supervision; or

— [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The Court will set the payment plan based on an assessment of the defendant's ability to pay at
that time; or

F [+] Special instructions regarding the payment of criminal monetary penalties:

[’] If the defendant, while incarcerated, is working in a non-UNICOR or grade 5 UNICOR job, the defendant shall
pay $25.00 per quarter toward defendant's monetary obligation. If working in a grade 1-4 UNICOR job, defendant
shall pay 50% of defendant's monthly pay toward defendant's monetary obligation. Any change in this schedule
shall be made only by order of this Court.

[#] After the defendant is release from imprisonment, and within 30 days of the commencement of the term of
supervised release, the probation officer shall recommend a revised payment schedule to the Court to satisfy
any unpaid balance of the monetary. The Court will enter an order establishing a schedule of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary

penalties is due during imprisonment. All criminal penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several (Defendant and Co-Defendant names and Case Numbers, Total Amount, Joint and Several Amount and corresponding
payee, if appropriate.):

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

a

[] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine
principal; (5} fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution and court
costs.
